Case 9:18-cv-81358-RLR Document 1 Entered on FLSD Docket 10/10/2018 Page 1 of 7




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                           CASE NO. ______________________



    CATHERINE DOLAN as Power of
    Attorney for JOHN CRAWN,

            Plaintiff,

    vs.

    WASTE MANAGEMENT INC. OF FLORIDA,
    JOSEPH ALAN MATHENY AND
    THE HEIL CO.,

         Defendants.
    __________________________/

                                   NOTICE OF REMOVAL

            Defendant, THE HEIL CO., (“Heil”), by and through its undersigned counsel,

    hereby files this Notice of Removal in the above-styled cause to the United States

    District Court, Southern District of Florida, West Palm Beach Division, on the following

    grounds:

    I.      INTRODUCTION

            On February 13, 2018 Plaintiff, CATHERINE DOLAN, a citizen of Florida, on

    behalf of JOHN CRAWN, also a citizen of Florida, filed suit against Heil in the Circuit

    Court of the Fifteenth Judicial Circuit in and for Palm Beach County, Florida, as Case

    No. 50-2018-CA-001295. Plaintiff alleges that on October 26, 2017, John Crawn

    crashed a 2004 Dodge Ram pickup truck into the rear end of a “slowed and/or




                                               1
    20028054v1
Case 9:18-cv-81358-RLR Document 1 Entered on FLSD Docket 10/10/2018 Page 2 of 7




    stopped” PTRB dump truck allegedly sold by The Heil Co. Mr. Crawn was allegedly

    injured in the crash. Plaintiff alleges that Mr. Crawn’s injuries were caused by defects

    in the dump truck. See Amended Complaint at ¶¶ 2,3,7-10, 32-45, attached hereto

    as Exhibit A.

            Plaintiff originally sued Waste Management, Inc. of Florida, a Florida

    corporation; Joseph Alan Matheny, a citizen of Florida; and Heil. See, Exhibit A at

    ¶¶ 4 and 6. On September 26, 2018 Plaintiff and co-defendants Waste Management

    Inc. of Florida and Joseph Alan Matheny filed a Stipulation of Partial Dismissal,

    attached hereto as Exhibit B. This Stipulation leaves The Heil Co., a Delaware

    corporation with its principal place of business in Tennessee, as the last remaining

    defendant in this action.

            This is an action in which the Court has original subject matter jurisdiction under

    the provisions of 28 U.S.C. § 1332(a), and may be removed to this Court by Heil under

    28 U.S.C. § 1441(a) and (b), in that it is a civil action between citizens of different

    states, and the matter in controversy exceeds the sum or value of $75,000, exclusive

    of interests and costs.

            Copies of all process, pleadings and orders filed in state court are attached

    hereto, as required by 28 U.S.C. § 1446(a).

    II.     DIVERSITY OF CITIZENSHIP

            With respect to the diversity of the parties, Plaintiff and John Crawn are citizens

    of Florida. See Exhibit A at ¶¶ 2-3, and the Durable Power of Attorney of John Crawn

    attached thereto. The Heil Co. is a citizen of Delaware and Tennessee. See The Heil




                                                 2
    20028054v1
Case 9:18-cv-81358-RLR Document 1 Entered on FLSD Docket 10/10/2018 Page 3 of 7




    Co.’s records from sunbiz.org, attached hereto as Exhibit C; Affidavit of George

    Paturalski, attached hereto as Exhibit D; and records from Delaware, Exhibit E.

            While Plaintiff’s Amended Complaint does not allege the “citizenship” of the

    Plaintiff, it does allege that the Plaintiff and John Crawn “at all times relevant” are

    residents of Okeechobee County, Florida.” See Exhibit A at ¶¶ 2 and 3. Of note,

    “[c]itizenship is equivalent to ‘domicile’ for purposes of diversity jurisdiction.”

    McCormick v. Aderholt, 293 F.3d 1254, 1258 (11th Cir. 2002). “A person’s domicile

    is the place of his true, fixed and permanent home and principal establishment, and

    which he has the intention of returning whenever he is absent.” Wiand v. Stoel Rives

    LLP, 2016 WL 8931304, *5 (M.D. Fla. 2016) (quoting McCormick, 293 F.3d at 1257-

    58). Plaintiff and John Crawn are domiciled in and are citizens of Florida. Therefore,

    at the time that both the Amended Complaint and Notice of Removal were filed in this

    cause, and at all times material hereto, the true, fixed and permanent homes of Plaintiff

    and of John Crawn were, and are, in Okeechobee County, Florida.

            At the time that both the Amended Complaint and the Notice of Removal were

    filed in this cause, and at all times material hereto, Heil was, and is, incorporated in

    the State of Delaware and has had and continues to have its principal place of

    business located in Chattanooga, Tennessee. This makes Heil a citizen on Delaware

    and Tennessee for purposes of diversity jurisdiction.        “For purposes of diversity

    jurisdiction, a corporation is a citizen of both the state where it is incorporated and the

    state where it has its principal place of business.” Werner v. Busch Entm't Corp., 2006

    WL 2644920, 1 (M. D. Fla. Sept. 14, 2006) (citing MacGinnitie v. Hobbs Group LLC,




                                                3
    20028054v1
Case 9:18-cv-81358-RLR Document 1 Entered on FLSD Docket 10/10/2018 Page 4 of 7




    420 F. 3d 1234, 1239 (11th Cir. 2005)); see also 28 U. S. C. §1332(c)(1). Accordingly,

    Heil was and is a Delaware corporation with its principal place of business in

    Chattanooga, Tennessee, and is therefore a citizen of Delaware and Tennessee for

    the purposes of 28 U.S.C. §1332.

            Given that Plaintiff and John Crawn are citizens of Florida, and that Heil is a

    citizen of Delaware and Tennessee, there is the requisite diversity of citizenship

    between the parties allowing the Court to take jurisdiction over this action pursuant to

    28 U.S.C. §1332.

    III.    AMOUNT IN CONTROVERSY

            The matter in controversy exceeds the sum or value of $75,000, exclusive of

    interest, costs and attorney’s fees. When it is not apparent from the face of the

    Complaint that the jurisdictional amount is met, a “defendant may utilize information

    from…a demand letter to support removal.” Jade E. Towers Devs. v. Nationwide Mut.

    Ins. Co., 936 F.Supp. 890 (N.D. Fla. 1996); Fermaintt v. Home Depot U.S.A., Inc.,

    2008 WL 11332008, n.3 (S.D. Fla. February 13, 2008). Further, a “[d]efendant has

    met its jurisdictional burden of establishing the amount in controversy based on

    information received from [p]laintiffs in the pre-suit demand package.” Katz v. J.C.

    Penny Corp., Inc., 2009 WL 1532129, *5 (S.D. Fla. June 1, 2009) see also Lazo v.

    U.S. Airways, Inc., 2008 WL3926430, *4 (S.D. Fla. August 26, 2008) (Defendant cited

    to a conversation with plaintiff’s counsel advising “that the current settlement demand

    will be at least $1,000,000, well into seven figures” in support of removal). Prior to the

    filing of this Notice, Plaintiff’s counsel demanded five million dollars ($5,000,000) from




                                                4
    20028054v1
Case 9:18-cv-81358-RLR Document 1 Entered on FLSD Docket 10/10/2018 Page 5 of 7




    Heil to settle the case. Additionally, the Amended Complaint alleges that John Crawn

    “has suffered severe and permanent injuries” as a result of the subject crash. See

    Amended Complaint at ¶ 44. The Amended Complaint is also seeking damages for

    pain and suffering, disability, disfigurement, mental anguish, loss of capacity for the

    enjoyment of life, expense of hospitalization, medical and nursing care, aggravation

    of a previously existing condition, and property damage to his vehicle. See Amended

    Complaint at ¶ 45. Therefore, the amount in controversy exceeds the jurisdictional

    requirement of $75,000.

    IV.     TIMELINESS

            This Notice is timely filed. The removal of this cause is authorized by the

    provisions of 28 U.S.C. §1441(b)(3). This action was commenced when Plaintiff filed

    her initial Complaint on February 13, 2018, less than 1 year prior to the filing of this

    Notice.      The case stated by the initial Complaint and the subsequent Amended

    Complaint was not removable because Plaintiff also sued Waste Management and

    Matheny, a Florida Corporation and Florida citizen, respectively. See sunbiz.org

    information regarding Waste Management attached hereto as Exhibit F. See also

    initial Complaint, attached hereto as Exhibit G, and Exhibit A. This case became

    removable upon the service upon Heil of the Stipulation for Dismissal (Exhibit B) on

    September 24, 2018, less than 30 days before the filing of this Notice.

    V.      CONCLUSION

            For the reasons set forth above, Heil has established the requisite diversity of

    citizenship between the parties and that the amount in controversy exceeds $75,000.




                                               5
    20028054v1
Case 9:18-cv-81358-RLR Document 1 Entered on FLSD Docket 10/10/2018 Page 6 of 7




    This Notice if timely. Written notice of the filing of the Notice of Removal, on this date,

    has been given to Plaintiff through her attorney. A copy of this Notice has, on this

    date, been filed with the Clerk of the Circuit Court of the Fifteenth Judicial Circuit in

    and for Palm Beach County, Florida. A copy of all process, pleadings, and papers

    served and filed in the aforementioned State Court action, which are not attached as

    other Exhibits to this Notice of Removal, is attached to this Notice of Removal as

    Exhibit H.

            WHEREFORE, the Defendant, THE HEIL CO., requests that this Court assume

    jurisdiction of this case and approve the Notice of Removal.

    Dated: October 10, 2018             Respectfully submitted,


                                        /s/ Edward H. Thompson_______________
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                                        ATTORNEY FOR DEFENDANT
                                        THE HEIL CO.


                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on October 10, 2018, a true and correct copy of the

    foregoing has been furnished by e-mail to: Karen E. Terry, Esq. SEARCY DENNEY

    SCAROLA BARNHART & SHIPLEY, P.a., 2139 Palm Beach Lakes Boulevard, West



                                                6
    20028054v1
Case 9:18-cv-81358-RLR Document 1 Entered on FLSD Docket 10/10/2018 Page 7 of 7




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